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    13
                   UNITED STATES DISTRICT COURT FOR THE
    14                CENTRAL DISTRICT OF CALIFORNIA
    15
    16
         NORA PHILLIPS; ERIKA PINHEIRO; CASE NO: 2:19-CV-06338
    17   and NATHANIEL DENNISON;
                                        SECOND AMENDED COMPLAINT
    18
               Plaintiffs,                        JURY TRIAL DEMANDED
    19   v.
    20
         UNITED STATES CUSTOMS AND
    21   BORDER PROTECTION; MARK
    22   MORGAN; UNITED STATES
         IMMIGRATION AND CUSTOMS
    23   ENFORCEMENT; MATTHEW
    24   ALBENCE; FEDERAL BUREAU OF
         INVESTIGATION; and
    25
         CHRISTOPHER WRAY,
    26
               Defendants.
    27
    28
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     1                                      INTRODUCTION
     2         1.        Plaintiffs Nora Elizabeth Phillips, Erika Da Cruz Pinheiro, and
     3   Nathaniel Garrett Dennison bring this action to challenge the United States federal
     4   government’s unconstitutional investigations and surveillance of United States
     5   citizens engaged in lawful activities.
     6         2.        Plaintiffs belong to an informal network of humanitarian activists and
     7   legal workers that grew out of the need to support vulnerable migrants traveling to
     8   or living inside the United States.
     9         3.        Defendants Customs and Border Protection, Immigration and
    10   Customs Enforcement, and the Federal Bureau of Investigation—the federal
    11   agencies responsible for policing the border, enforcing immigration laws, and
    12   investigating criminal activity—trained their gaze on Plaintiffs for no other crime
    13   than their compassion.
    14         4.        Nora Phillips is a licensed attorney in the State of Illinois. She and the
    15   legal organization she co-founded, Al Otro Lado, provide legal and mental health
    16   services to immigrants in Los Angeles County. Defendants surveilled her work,
    17   amassed records describing her First Amendment-protected activity, refused to
    18   renew her expedited international travel pass, placed an alert on her passport that
    19   prompted Mexican authorities to detain and deport her, and frustrated her ability to
    20   secure a Mexican visa.
    21         5.        Erika Pinheiro, a director at Al Otro Lado and a California-licensed
    22   immigration attorney, has for years operated legal clinics in Tijuana, Mexico for
    23   hundreds of migrants, deportees, and refugees with little government support,
    24   meager financial resources, and in an environment of desperation. Yet Defendants
    25   also surveilled her, placed an alert on her passport that resulted in her being
    26   deported twice from Mexico, and unlawfully maintain in a secret database
    27   information about her and her First Amendment-protected legal work and
    28   associations.


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     1         6.     Nathaniel Dennison, a documentary filmmaker, founded a non-profit
     2   organization dedicated to providing young people tools and camera equipment to
     3   document stories mainstream audiences do not often hear. He raised funds to travel
     4   to Mexico with the aim of helping young migrants create their own narratives. But
     5   Defendants also secretly investigated him. They now maintain records describing
     6   private information about him, as well as protected information about his
     7   associations and volunteer work. Defendants’ investigation resulted in federal
     8   border officers detaining Mr. Dennison for six hours at the United States-Mexico
     9   border and interrogating him about his work, political opinions, and private
    10   associations and activities.
    11         7.     Defendants’ targeting of Plaintiffs is the product of a secret
    12   investigative program designed to monitor these humanitarian workers, target them
    13   for detention and interrogation, and impede their ability to travel.
    14         8.     In March 2019, reporters at NBC 7 San Diego revealed the details of
    15   this covert operation, including pages taken directly from the secret list showing
    16   images of the targeted individuals and notations describing how Defendants
    17   flagged them for increased scrutiny and detention. The disclosure of the secret
    18   program spurred outrage from civil society organizations, prompted members of
    19   Congress to call for an inquiry into the agencies’ actions, and led Customs and
    20   Border Protection’s Inspector General to initiate its own internal investigation into
    21   the surveillance.
    22         9.     The government’s monitoring of purely humanitarian actors is both
    23   immoral and illegal. Plaintiffs have been singled out and targeted based on their
    24   protected speech and association, including their provision of legal counsel to
    25   asylum seekers, their association with others providing humanitarian aid, and the
    26   assistance they provided to clients seeking redress or to express themselves
    27   publicly. In addition, the government’s collection and retention of information
    28   about Plaintiffs’ protected work itself violates the First Amendment and chills their


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     1   ability to continue their important work. The government’s detention and
     2   interrogation of Plaintiff Nathaniel Dennison violated the Fourth Amendment’s
     3   protection against unreasonable search and seizure. Finally, the government’s
     4   maintenance of records describing Plaintiffs’ First Amendment-protected activity
     5   and associations without justification violations the federal Privacy Act. This
     6   lawsuit seeks to undo this damage wrought by the government.
     7                                     JURISDICTION
     8         10.    This Court has subject matter jurisdiction over this action under 28
     9   U.S.C. § 1331. Because this lawsuit alleges violations of the United States
    10   Constitution, it raises questions of federal law.
    11         11.    This Court has authority to grant declaratory relief under 28 U.S.C.
    12   §§ 2201 and 2202, and injunctive relief (including the expungement of records)
    13   under the Constitution.
    14                                          VENUE
    15         12.    Venue is proper under 28 U.S.C. § 1391(b) because a substantial part
    16   of the events or omissions giving rise to the claims herein occurred in this District
    17   and because Defendants are subject to the court’s personal jurisdiction in this
    18   District. Venue is also proper under 28 U.S.C. § 1391(e) because Plaintiff Nora
    19   Phillips resides in this District, a substantial part of the events or omissions giving
    20   rise to the claims herein occurred in this District, and various Defendants are
    21   officers of the United States sued in their official capacities.
    22                                         PARTIES
    23   I.    Plaintiffs
    24         A.     Nora Phillips
    25         13.    Plaintiff Nora Elizabeth Phillips is a nationally recognized expert in
    26   immigration law. She is the co-founder and Legal Director of Al Otro Lado, a
    27   binational legal services organization serving refugees, deportees, and immigrants
    28   in Tijuana, Mexico and Los Angeles, California. As its Legal Director, Ms. Phillips


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     1   manages the operations of Al Otro Lado’s Maywood, California office in Los
     2   Angeles County, as well as the development and implementation of programs on
     3   the LAC+USC Medical Center campus (Los Angeles County Hospital). Ms.
     4   Phillips also supervises Al Otro Lado’s Homeless Immigrant Services Program,
     5   which assists people experiencing homelessness throughout various sites in Los
     6   Angeles County.
     7         14.    Prior to her work at Al Otro Lado, Ms. Phillips served as an Equal
     8   Justice Works Fellow at the Legal Assistance Foundation of Metropolitan Chicago,
     9   a Staff Attorney for the Central American Resource Center (“CARECEN”), and a
    10   founding partner of a Los Angeles-based immigration law firm, Phillips & Urias,
    11   LLP. She has extensive experience in U visas, Violence Against Women Act self-
    12   petitions, and benefits under the Deferred Action for Childhood Arrivals program.
    13   She has represented clients in removal proceedings (detained and non-detained),
    14   and has extensive experience with family-based immigration, naturalization,
    15   Advance Parole, adjustment of status, I-751 battered spouse waivers, Humanitarian
    16   Parole, asylum, withholding of removal, Convention Against Torture, and Global
    17   Entry revocations.
    18         15.    Government agencies on both sides of the border have relied upon
    19   Ms. Phillips’ immigration expertise. At the invitation of the Nonimmigrant Visa
    20   Section of the United States Consulate in Tijuana, Ms. Phillips trained the consular
    21   staffs of the United States, Guatemala, Honduras, and El Salvador on U and T visa
    22   petitions. While at CARECEN and again in private practice, Ms. Phillips
    23   contracted with Mexican consulates to provide legal services to certain Mexican
    24   nationals, and performed numerous trainings and educational workshops for
    25   Mexican consular staff and Mexican nationals in need of legal assistance. Ms.
    26   Phillips also served as an immigration law instructor for the Comisión Nacional de
    27   los Derechos Humanos, translated as the National Human Rights Commission,
    28   based in Mexico City.


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     1         16.    Ms. Phillips is a graduate of the DePaul University College of Law in
     2   Chicago, Illinois. She is a United States citizen and currently resides in Los
     3   Angeles, California.
     4         B.     Erika Pinheiro
     5         17.    Plaintiff Erika Da Cruz Pinheiro is also a recognized expert in
     6   immigration law. She is one of the three Directors of Al Otro Lado, and is the
     7   organization’s Director of Litigation and Policy. In this capacity, she provides
     8   cross-border legal services to refugees and families separated by deportation, and
     9   supervises a team of legal staff and volunteers. Under Ms. Pinheiro’s direction, Al
    10   Otro Lado’s Family Reunification Project represents parents separated from their
    11   children by U.S. authorities, with a focus on reunifying parents deported without
    12   their children. Ms. Pinheiro also manages Al Otro Lado’s San Diego office where
    13   she supervises the provision of direct legal services to clients, with a primary focus
    14   on representing detained immigrants. In addition to Al Otro Lado’s direct services
    15   work, Ms. Pinheiro oversees the organization’s impact litigation, which involves
    16   fact finding and coordination with litigation teams for five class action lawsuits in
    17   which Al Otro Lado is either a plaintiff or counsel.
    18         18.    In her legal capacity, Ms. Pinheiro has represented adults, families,
    19   and unaccompanied minors in immigration proceedings, clients in complex gang-
    20   based asylum claims, and youth applying for special immigrant juvenile status.
    21         19.    Prior to her work for Al Otro Lado, Ms. Pinheiro administered
    22   federally-funded, high-volume immigration legal access programs in county jails
    23   and immigration detention facilities housing adults and children. Ms. Pinheiro
    24   helped create an all-volunteer Legal Orientation Program for immigration
    25   detainees housed in Orange County jails. Ms. Pinheiro also managed legal
    26   orientation programs for unaccompanied children and their sponsors.
    27         20.    Throughout her career, Ms. Pinheiro has conducted numerous
    28   continuing legal education trainings on a broad range of immigration law topics to


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     1   audiences in law enforcement, government agencies, and civil society
     2   organizations. Ms. Pinheiro also offered regular technical assistance to the County
     3   of Los Angeles in crafting pro-immigrant policies for public agencies serving
     4   noncitizens.
     5         21.      Ms. Pinheiro is a graduate of Georgetown University, where she
     6   earned both a J.D. and a master’s degree in public policy. Ms. Pinheiro is a United
     7   States citizen currently residing in Baja California, Mexico. Prior to Defendants’
     8   investigation and surveillance of Ms. Pinheiro, she regularly visited and worked
     9   out of Los Angeles, where Al Otro Lado’s headquarters is located.
    10         C.       Nathaniel Dennison
    11         22.      Plaintiff Nathaniel Garrett Dennison is the founder and executive
    12   director of Richmond, Virginia-based non-profit Through My Eyes Foundation. A
    13   filmmaker, photographer, and journalist by training, Mr. Dennison’s non-profit
    14   provides camera equipment and training to young people interested in making
    15   narrative texts, including documentaries, to share their experiences in their own
    16   voices. Mr. Dennison traveled to Mexico in December 2018 on behalf of Through
    17   My Eyes on a project designed to allow migrant youth to document their migration
    18   journeys. In the process, the federal government subjected him to investigation,
    19   surveillance, detention, and interrogation without lawful justification.
    20         23.      Mr. Dennison is a United States citizen and currently resides in
    21   Richmond, Virginia.
    22   II.   Defendants
    23         24.      Defendant United States Customs and Border Protection (“CBP”) is
    24   the agency within the Department of Homeland Security (“DHS”) responsible for
    25   policing the borders, coastlines, and ports of entry of the United States. Among
    26   other mandates, it is authorized to investigate, inspect, and detain individuals
    27   crossing the border at and between ports of entry.
    28         25.      Defendant Mark Morgan is the Acting Commissioner of CBP. As


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     1   head of the agency, Mr. Morgan oversees all CBP operations, including its
     2   investigative and surveillance operations along the United States-Mexico border.
     3   He has authority over all CBP policies and practices, including those challenged
     4   here. He is named in his official capacity.
     5         26.    Defendant Immigration and Customs Enforcement (“ICE”) is the
     6   agency within DHS responsible for managing all aspects of the immigration
     7   enforcement process. ICE apprehends, incarcerates, and removes noncitizens from
     8   the United States. Homeland Security Investigations (“HSI”) is a component of
     9   ICE and is the largest investigative arm of the Department of Homeland Security.
    10   HSI employs over 6,000 special agents in 30 field offices. HSI special agents are
    11   tasked with gathering intelligence and investigating violations of various
    12   immigration and border-related criminal laws. HSI also houses the Office of
    13   Intelligence and the International Operations Division, two HSI subcomponents
    14   dedicated to international intelligence gathering and responsible for collecting
    15   intelligence for use within HSI and by other DHS agencies.
    16         27.    Defendant Matthew Albence is the Acting Director of ICE. Among
    17   other duties, Mr. Albence oversees the operation of ICE and its components,
    18   including HSI. He has authority over all ICE and HSI policies and practices,
    19   including those challenged here. He is named in his official capacity.
    20         28.    Defendant Federal Bureau of Investigation (“FBI”) is the principal
    21   federal law enforcement agency housed within the Department of Justice. Among
    22   other responsibilities, it is tasked with investigating violations of federal criminal
    23   law and collecting and maintaining intelligence records on individuals its agents
    24   investigate. It collaborated with CBP and ICE in their investigation and
    25   surveillance of Plaintiffs.
    26         29.    Defendant Christopher A. Wray is the Director of the FBI. In his role,
    27   Mr. Wray directs and oversees the operations of the FBI, including work the
    28   agency performs in its field offices nationwide. He has authority over all FBI


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     1   policies and practices, including those challenged here. He is named in his official
     2   capacity.
     3                               STATEMENT OF FACTS
     4   I.    Defendants targeted human rights organizations that provided
     5         humanitarian aid and legal counsel to families migrating to the United
     6         States for refuge.
     7         30.    In response to the lack of basic services in Mexico to support migrants
     8   and refugees, an informal network of legal practitioners, civil society
     9   organizations, and individual volunteers developed to provide humanitarian
    10   support to them on their journey.1 This network includes Al Otro Lado and
    11   Through My Eyes Foundation, the organizations that Plaintiffs founded. While
    12   many of these individuals and organizations had long supported migrants (like
    13   Plaintiffs Nora Phillips and Erika Pinheiro), the increased national attention on
    14   migration in 2018 expanded this support network to include organizations and
    15   individuals that were new to the work (like Plaintiff Nathaniel Dennison).
    16         31.    Defendants surveilled this network of human rights activists and
    17   amassed information about their private and First Amendment-protected activity.
    18         32.    Defendants also detained many of them at the border, conducted
    19   intrusive searches of them through excessive physical restraint, and coercively
    20   interrogated them (referred to collectively as “intrusive seizures”).
    21         33.    Defendants conducted its surveillance and intrusive seizures under the
    22   guise of a CBP program dubbed “Operation Secure Line.” At an October 29, 2018
    23   press conference, then-CBP Commissioner Kevin McAleenan described the
    24   operation as a “a multi-phased and flexible operational response designed to ensure
    25
               1
                  JILL H. WILSON, CONG. RESEARCH SERV., R45489, Recent Migration to the
    26   United States from Central America: Frequently Asked Questions (2019), at 7,
    27   https://fas.org/sgp/crs/row/R45489.pdf; AMNESTY INTERNATIONAL, ‘Saving lives is
         not a crime’: Politically motivated legal harassment against migrant human rights
    28   defenders by the USA (2019) at 6, http://bit.ly/SavingLivesAmnesty.

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     1   that we are prepared for any number of contingencies involved with the arrival and
     2   attempted crossing of a large group of intending migrants at our border, whether
     3   they attempt to cross at a port of entry or unlawfully in between ports of entry.”2
     4         34.    Mr. McAleenan’s statement about “a large group of intending
     5   migrants” referred to what have become known as “caravans.” Some migrants
     6   traveling from Central America to the United States did so in these caravans,
     7   which are collectives that travel together to ensure their own safety, to procure
     8   social services, and to avoid the costs of smugglers.3 Among other purposes,
     9   Operation Secure Line was the government program “designated to monitor the
    10   migrant caravan.”4
    11         35.    Starting in May 2018, and escalating in December 2018 and January
    12   2019, officers of Defendants CBP, FBI, and ICE began surveilling and intrusively
    13   seizing activists and legal workers at the border.5 One report relying on numerous
    14   sources “described law enforcement actions ranging from the barring and removal
    15   of journalists and lawyers from Mexico, to immigrant rights advocates being
    16   shackled to benches in U.S. detention cells for hours at a time.”6 Others “described
    17   [journalists and activists] being forced to turn over their notes, cameras, and
    18   phones while plainclothes U.S. border officials pumped them for information about
    19
    20
    21
               2
                 U.S. DEP’T OF DEFENSE, Homeland Security and Defense Department
         Officials Joint Press Conference on the Defense Department Deployment to the
    22   Southwest Border (Oct. 29, 2018), http://bit.ly/2LDOOt1/.
               3
    23           WILSON, supra note 1, at 7 (explaining origins of migration via caravans).
               4
                 Tom Jones, et al., Source: Leaked Documents Show the U.S. Government
    24   Tracking Journalists and Immigration Advocates Through a Secret Database,
    25   NBC 7 SAN DIEGO (Mar. 6, 2019), http://bit.ly/NBC7story.
               5
                 Ryan Devereaux, Journalists, Lawyers, and Activists Working on the
    26   Border Face Coordinated Harassment From U.S. and Mexican Authorities, THE
    27   INTERCEPT (Feb. 8, 2019), https://theintercept.com/2019/02/08/us-mexico-border-
         journalists-harassment/.
    28         6
                 Id.

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     1   activists working with members of the caravans.”7
     2   II.     Defendants unlawfully collected large troves of personal and First
     3           Amendment-protected information on humanitarian and legal workers.
     4           36.    To facilitate their surveillance and intrusive seizures, Defendants
     5   created a secret database of 59 individuals—including Plaintiffs—who provided
     6   legal advice to, associated with, supported, or covered in the press migrants
     7   attempting to seek asylum in the United States.8 Many of them, like Plaintiffs, are
     8   United States citizens.
     9           37.    The report that revealed this database published a version of it dated
    10   January 9, 2019 along with a description of how Defendants organized the list,
    11   how the list presented information about the targeted individuals, what information
    12   and records the government collected on these individuals, and select images of the
    13   list itself.
    14           38.    Defendants created and shared the database at least as early as
    15   November 2018, and possibly earlier.9
    16           39.    Defendants entitled the list “San Diego Sector Foreign Operations
    17   Branch: Migrant Caravan FY-2019, Suspected Organizers, Coordinators,
    18   Instigators and Media.” One of the purposes of the list was to memorialize “who
    19   officials think should be targeted for screening at the border” and for further
    20   retaliatory scrutiny, including revocations of travel privileges and international
    21   alerts limiting the targets’ ability to travel expeditiously.10
    22
                 7
    23            Id.; Kate Morrissey, Volunteers, Activists, Journalists Interrogated at
         Border About Caravan, THE SAN DIEGO UNION TRIBUNE (Feb. 11, 2019),
    24   http://bit.ly/2XWuPfP (describing volunteers, activists, and journalists detained
    25   and interrogated at the border).
                8
                  See Jones, supra note 4.
    26          9
                  Tom Jones et al., Agent-Turned-Whistleblower Uncovered Controversial
    27   Border Surveillance Tactics, NBC 7 SAN DIEGO (Nov. 19, 2019),
         http://bit.ly/2D5pea0.
    28          10
                   Jones, supra note 4.

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     1         40.    Investigations into the individuals listed in the database, including
     2   Plaintiffs, involved coordination between Defendant CBP, responsible for the
     3   detentions and seizures of individuals at the border, Defendant ICE’s HSI,
     4   responsible for the surveillance and interrogations of these activists, and Defendant
     5   FBI’s local San Diego field office, which provided support to the operation.
     6   Officials from each agency accessed the list through a SharePoint application. All
     7   three agencies jointly manage the list and investigate, surveill, and collect First
     8   Amendment-protected information about individuals on the list.
     9         41.    This program of surveillance and intrusive seizures coincided with a
    10   December 1, 2018 email sent by David Shaw, the Special Agent in Charge of the
    11   San Diego office of Homeland Security Investigations, to all his subordinate
    12   agents.11 The email stated that Homeland Security Investigations is “increasing our
    13   intelligence collection efforts” in response to the migrant caravan. Shaw instructed
    14   agents to “question available sources of information to include Confidential
    15   Informants (C/Is) and Sources of Information (SOIs) regarding the migrants, the
    16   caravan and it’s [sic] leaders, and any criminal or cartel related actions concerning
    17   migrants or the caravan.”12 All information received is to be “documented as per
    18   standard operating procedures” and forwarded to the agency’s Chief Intelligence
    19   Officer.13 The email further states that the information “is being collected locally
    20   through the Incident Command Center, our SIG agents and IRS, and being routed
    21   through Headquarters [in Washington D.C.].”14
    22         42.    The secret surveillance operation also appears to be a collaboration
    23   between Defendants and officials from the Mexican government. The title page of
    24
               11
    25            Mari Payton et al., Leaked Email Reveals How Federal Agents Used
         Confidential Sources and Informants to Gather Information about Migrant
    26   Caravan, NBC 7 SAN DIEGO (Mar. 8, 2019), http://bit.ly/2SygYGG.
               12
    27            Id.
               13
                  Id.
    28         14
                  Id.

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     1   the list contains an emblem with both a Mexican and American flag, underneath
     2   which is a notation that reads “ILU-OASSIS-OMEGA.” That notation refers to the
     3   International Liaison Unit (ILU), a government component that coordinates
     4   intelligence sharing between Mexico and the United States. “OASISS” refers to the
     5   Operation Against Smugglers Initiative on Safety and Security.
     6         43.     The federal government created the OASISS program in 2005, and
     7   designed it to share intelligence between the United States and Mexico to
     8   prosecute “Mexican human smugglers, through Mexican courts, using information
     9   obtained via interviews conducted by Border Patrol agents while in U.S.
    10   custody.”15
    11         44.     Despite the original intention of the program, Defendants
    12   commandeered OASISS to enable the surveillance of human rights defenders like
    13   Plaintiffs. Defendants deputized Mexican officials through OASISS “to surveil
    14   defenders and restricts their freedom of movement, apparently based on travel
    15   warnings issued by the US government, under its politically motivated criminal
    16   investigation of migrant human rights defenders on smuggling chargers.”16
    17         45.     Defendants’ wide-ranging surveillance operation collected an
    18   extraordinary amount of information about its targets. For every individual, the
    19   database includes a photograph of the person, their name, their date of birth, their
    20   “country of commencement,” and their “role” within the larger cross-border
    21   migrant support network. The list also includes information about whether
    22   Defendants placed an alert on the person (under a space called “Alert Placed”),
    23         15
                   United States Border Patrol, Mexican Government Partner to Combat
    24   Human Smuggling (June 23, 2017), https://www.cbp.gov/newsroom/local-media-
    25   release/border-patrol-mexican-government-partner-combat-human-smuggling; see
         also Enhancing DHS’ Efforts to Disrupt Alien Smuggling Across our Borders:
    26   Hearing before the Subcomm. on Border, Maritime, and Global Counterterrorism,
    27   of the H. Comm. on Homeland Security, 111th Cong. (2010), available at
         http://bit.ly/2JLAr40.
    28          16
                   AMNESTY INTERNATIONAL, supra note 1, at 18.

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     1   whether Defendants detained, arrested, or interviewed a person (demarked by a
     2   colored “X” mark over their photo), or whether the United States government
     3   revoked their visa or Trusted Traveler pass (under a space called “Disposition”).
     4   The leaked list demonstrates that Defendants placed alerts on individuals,
     5   subjected them to intrusive seizures at the border, and revoked their visas and
     6   Trusted Traveler passes.
     7         46.      Plaintiffs Nathaniel Dennison, Erika Pinheiro, and Nora Phillips all
     8   appear on the secret surveillance list, as follows:
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18         47.      Alongside the list itself, Defendants also created separate, individual
    19   dossiers for at least twenty-five of the individuals in the database. The dossiers
    20   contain both private and First Amendment-protected information. In the case of
    21   one dossier about another individual on the list, Defendants amassed a trove of
    22   information about her, “including specific details about the car she drives, her
    23   mother’s name, and her work and travel history,” as well as descriptions of her
    24   associational activity with migrants and other humanitarian organizations.17
    25         48.      Based on the initial reporting of the list, and upon information and
    26   belief, Defendants maintain dossiers containing private information and First
    27
    28         17
                    Jones, supra note 4.

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     1   Amendment-protected information about each Plaintiff.
     2          49.   Defendants’ suspicionless surveillance program extends beyond the
     3   California border. While the leaked list arose out of the “San Diego Foreign
     4   Operations Branch,” agents and employees of Defendants across the United States-
     5   Mexico border had access to the information in the list. Defendants themselves
     6   targeted many human rights defenders and legal workers in Arizona and in Texas
     7   for unlawful surveillance and intrusive seizures.18 This is consistent with David
     8   Shaw’s email stating that information received as a result of Defendants’
     9   surveillance operations was “being routed through Headquarters.”
    10          50.   Defendants’ secret program appears to violate CBP policy that
    11   prohibits discriminatory treatment of members the public. According to CBP
    12   Directive No. 2130-021, the agency “shall treat all individuals in a non-
    13   discriminatory manner” and “with full respect for individual rights including
    14   equality under the law, due process, freedom of expression and religion, and
    15   freedom from excessive force, unreasonable searches and seizures, and unlawful
    16   intrusions into personal privacy.”19
    17   III.   After the secret program’s disclosure, Defendants offered shifting
    18          justifications for their unlawful surveillance and seizures.
    19          51.   Following disclosure of the secret program, Defendants issued
    20   shifting public justifications for their covert surveillance and intrusive seizures.
    21          52.   In advance of news about the list breaking, CBP issued a statement
    22
                18
    23             AMNESTY INTERNATIONAL, supra note 1, at 15; Julia Ainsley, More
         Lawyers, Reporter Stopped and Questioned at Border by U.S. Officials, NBC
    24   NEWS (March 17, 2019), https://nbcnews.to/2M7uIXU.
    25
                19
                   U.S. CUSTOMS AND BORDER PROTECTION, DEP’T OF HOMELAND SEC., CBP
         DIRECTIVE NO. 2130-021, Roles and Responsibilities of U.S. Customs and Border
    26   Protection Component Offices and Employees regarding Civil Rights and Civil
    27   Liberties Matters (June 3, 2011), available at
         https://www.cbp.gov/sites/default/files/assets/documents/2018-Mar/cbp-directive-
    28   2130-021.pdf.

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     1   declaring
     2
                      Criminal events, such as the breach of the border wall in
     3                San Diego, involving assaults on law enforcement and a
     4                risk to public safety, are routinely monitored and
                      investigated by authorities. These activities could result in
     5                a more thorough review of those seeking entrance into our
     6                country. It is protocol following these incidents to collect
                      evidence that might be needed for future legal actions and
     7                to determine if the event was orchestrated. CBP and our
     8                law enforcement partners evaluate these incidents, follow
                      all leads garnered from information collected, conduct
     9                interviews and investigations, in preparation for, and often
    10                to prevent future incidents that could cause further harm
                      to the public, our agents, and our economy.20
    11
               53.    The statement does not suggest that the individuals subjected to
    12
         Defendants’ surveillance and intrusive seizures were present during any breach of
    13
         the border wall, had information relevant to ongoing investigations into any
    14
         breach, or were suspected to have committed a crime during any such breach.
    15
         Defendants maintain no such suspicion against Plaintiffs.
    16
               54.    The statement also references “varying terrains” and “the threats of
    17
         smugglers and traffickers,” but again does not claim that Defendants had any
    18
         suspicion that the individuals targeted by the program, including Plaintiffs, were
    19
         smugglers or traffickers.
    20
               55.    Defendants’ statement is also contradicted by the source who leaked
    21
         the existence of the database. The source, a nine-year veteran of ICE Homeland
    22
         Security Investigations, told the press that “he saw no evidence that the ten
    23
         journalists, three immigration law attorneys and other humanitarian aid workers
    24
         under surveillance had any involvement in human smuggling.”21
    25
    26         20
                  U.S. CUSTOMS AND BORDER PROTECTION, Statement provided to NBC 7
    27   San Diego, https://assets.documentcloud.org/documents/5759650/CBP-Full-
         Statement.pdf (linked to in Jones article, supra note 4).
    28         21
                  Tom Jones et al., supra note 9.

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     1         56.    Five days after publication of the secret watchlist, CBP shifted its
     2   message away from hypothetical smuggling or trafficking. In a new statement, the
     3   agency stated “that the names in the database are all people who were present
     4   during violence that broke out at the border in November. The agency also said
     5   journalists are being tracked so that the agency can learn more about what started
     6   that violence.”22 This new justification refers to unrest in Tijuana, Mexico on
     7   November 25, 2018 during which a peaceful march launched by migrants in
     8   Tijuana resulted in CBP shutting down border crossings in the city and firing tear
     9   gas at families seeking to enter the United States.23
    10         57.    However, the database existed weeks before the November 25, 2018
    11   unrest, according to the whistleblower who revealed details of the database.24
    12         58.    Moreover, many of the 59 individuals on the list, including Plaintiffs,
    13   were not present during the march that afternoon. They nevertheless appear on the
    14   list. For instance, Ms. Phillips worked in Tijuana that day on family separation
    15   cases, approximately ten miles away from the site of the unrest, while Mr.
    16   Dennison and Ms. Pinheiro were in Virginia and New Jersey, respectively.
    17         59.    Defendants also suggested that they targeted individuals who were
    18   involved in an incident on December 31, 2018 at the border in Tijuana where CBP
    19   officers again attacked migrants attempting to cross the border with tear gas.25
    20   Neither Ms. Phillips nor Ms. Pinheiro were present there either, while Mr.
    21   Dennison arrived after the initial tear gassing and only to document the incident
    22   from the Mexican side of the border.
    23         22
                   Jones, supra note 4 (video entitled “Federal Agencies Keep Secret
    24   Database,” at 3:45).
                23
    25             Maya Averbuch & Elisabeth Malkin, Migrants in Tijuana Run to U.S.
         Border, but Fall Back in Face of Tear Gas, N.Y. TIMES (Nov. 25, 2018),
    26   https://nyti.ms/2Y9tQV1.
                24
    27             Jones, supra note 9.
                25
                   U.S. Fires Tear Gas Across Mexico Border to Stop Migrants, PBS.ORG
    28   NEWSHOUR (Jan. 1, 2019), https://to.pbs.org/30J8sHM.

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     1         60.    On May 9, 2019, CBP issued yet another statement, this time in
     2   response to a letter signed by a coalition of more than 100 organizations led by the
     3   Center for Democracy & Technology expressing opposition to Defendants’
     4   surveillance program. The CBP statement justified the investigation of activists
     5   and journalists because “the threat level of the Central American migrant caravan
     6   in Mexico reached higher than normal levels” in October 2018, and described the
     7   migrants as having “[d]emonstrated violent tendencies, and present[ing]
     8   transportation, medical, and housing demands to the Government of Mexico.”26 It
     9   stated that CBP “utilized various sources of information in assessing the intentions
    10   of the caravan,” which “helped identify a number of people involved in assisting
    11   migrants in crossing the border illegally or having witnessed the violent actions
    12   taken against law enforcement at the border.” In the process of conducting its
    13   investigation, however, CBP conceded that it “may inconvenience law-abiding
    14   persons in our efforts to detect, deter, and mitigate threats to our homeland.”
    15   IV.   Defendants’ surveillance and seizure program violated Plaintiffs’ First
    16         and Fourth Amendment rights.
    17         A.     Al Otro Lado provides humanitarian assistance and legal services
    18                to migrants and deportees in the United States and Mexico.
    19         61.    Al Otro Lado is a non-profit, non-partisan organization incorporated
    20   in California in 2014. It provides legal services to indigent deportees, migrants,
    21   refugees and their families, principally in Los Angeles and Tijuana. Al Otro Lado’s
    22   mission is to coordinate and provide screening, advocacy, and legal representation
    23   for individuals in asylum and other immigration proceedings, to seek redress for
    24   civil rights violations, and to aid with other legal and social service needs.
    25         62.    Al Otro Lado runs the “Border Rights Project,” a program that works
    26
               26
    27          Letter from Randy J. Howe, Exec. Dir., Office of Field Operations, U.S.
         Customs and Border Protection, to Mana Azarmi, Policy Counsel, Ctr. for
    28   Democracy & Tech. (May 9, 2019), https://bit.ly/2YkJKzV.

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     1   with asylum seekers in Tijuana by providing direct legal representation, convening
     2   community education fora centered around asylum and refugee law, and
     3   vindicating individuals’ rights to claim internationally protected asylum status.
     4         63.    Al Otro Lado also litigates against the United States on issues related
     5   to migration, immigration, and refugee rights. For instance, in 2017, lawyers at the
     6   Center for Constitutional Rights, the Southern Poverty Law Center, and Latham &
     7   Watkins LLP representing Al Otro Lado filed a class action lawsuit against
     8   officials at DHS challenging CBP’s practice of depriving asylum seekers access to
     9   the U.S. asylum process. The plaintiffs in that litigation, including Al Otro Lado,
    10   allege that CBP and DHS systematically violate U.S. and international law by
    11   denying individuals even the opportunity to apply for asylum by consistently
    12   turning away individuals facing persecution. The lawsuit documents numerous
    13   cases in which CBP denied asylum seekers the right to seek protection when
    14   presenting themselves at ports of entry.
    15         B.     Defendants’ suspicionless investigation targeted Plaintiff Nora
    16                Phillips and resulted in her detention and deportation from
    17                Mexico.
    18         64.    Nora Phillips lives and works in Los Angeles, where she manages Al
    19   Otro Lado’s office in Maywood, California, in Los Angeles County.
    20         65.    Her work with Al Otro Lado requires that she travel to Tijuana,
    21   Mexico approximately six to nine times per year for work, each time for two to
    22   four days. She previously made such trips on a multiple-entry business visa that
    23   allowed her to travel throughout Mexico.
    24         66.    As a necessary expedient to her work, Ms. Phillips applied for and
    25   received a Secure Electronic Network for Travelers Rapid Inspection (“SENTRI”)
    26   pass from CBP.
    27         67.    The SENTRI pass is part of CBP’s Trusted Traveler programs, which
    28   provide qualified and pre-approved individuals expedited security screening


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     1   processes for traveling internationally. SENTRI allows accelerated entry into the
     2   United States from Canada and Mexico by air and land. SENTRI membership is
     3   valid for five years unless revoked due to a criminal conviction, a customs or
     4   immigration charge, or a declaration of inadmissibility to the United States under
     5   immigration laws. As of the date of this filing, an application for a SENTRI pass
     6   for one adult costs $122.25.
     7            68.   Because of her work, Ms. Phillips is widely and publicly associated
     8   with Al Otro Lado. Her name appears in Defendants’ secret watchlist, with a role
     9   listed as “Unknown” and a disposition of “Pending.”
    10            69.   Upon information and belief, Defendants maintain a dossier
    11   containing both private and First Amendment-protected information about Ms.
    12   Phillips as part of its surveillance and data-collection program, all without any
    13   suspicion of past or future criminal activity.
    14            70.   Ms. Phillips suffers from a rare degenerative disorder, Ehlers-Danlos
    15   Syndrome, that causes chronic joint and connective tissue pain and organ rupture,
    16   among other issues. The incurable disorder requires medication, and stress
    17   exacerbates its symptoms.
    18            71.   Due to these various health issues limiting her travel to Mexico, Ms.
    19   Phillips declined to renew her business visa allowing her to travel and work in
    20   Mexico. Al Otro Lado is currently in the process of completing its asociación civil
    21   (non-profit) registration in Mexico, which would allow its staff to operate on
    22   nonimmigrant NAFTA Professional (TN) visas.
    23            72.   On January 31, 2019, Ms. Phillips flew with her husband, seven-year-
    24   old daughter, and close friend from Los Angeles International Airport to the
    25   Miguel Hidalgo y Costilla Guadalajara International Airport in Guadalajara,
    26   Mexico. The purpose of the trip was solely tourism: Ms. Phillips planned to
    27   accompany her friend’s visit to Mexico to see his family for the first time in ten
    28   years.


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     1         73.    Ms. Phillips, her family, and her friend arrived in Guadalajara at 12:15
     2   a.m. When she did, a Mexican Instituto Nacional de Migración (“INM”) officer
     3   who checked the party’s passports informed Ms. Phillips that an alerta—Spanish
     4   for “alert”—had been placed on her passport.
     5         74.    Agents subsequently escorted Ms. Phillips to an office, where an INM
     6   supervisor informed her that the alerta had likely been placed either because
     7   someone else with her name had a pending criminal case or because she had lost
     8   her passport in 1998. The supervisor informed Ms. Phillips that this situation
     9   occurred occasionally, and that the party had merely to wait for 15 minutes for the
    10   American embassy in Mexico City to respond.
    11         75.    The officials present in the holding room did not appear to know why
    12   the alerta was placed, but explained that a government places an alerta on an
    13   individual if there are criminal proceedings against that person and the government
    14   does not want that individual to leave.
    15         76.    Based on her experience in detention and the statements of Mexican
    16   officials to her, Ms. Phillips understood that the United States government had
    17   placed the alerta on her.
    18         77.    At this point, the officers appeared to have a questionnaire printed out
    19   with various questions that they asked Ms. Phillips. The questions included where
    20   she lived, what languages she spoke, how much money she currently possessed,
    21   where she was staying, why she was there, when she would leave, and additional
    22   extensive questions as to whether she faced pending criminal proceedings in
    23   Mexico or elsewhere. Ms. Phillips answered these questions, but was not provided
    24   access to the questionnaire itself, the questions included on the document, or the
    25   notes the officers asked upon hearing her answers. When the questioning finished,
    26   the officers informed Ms. Phillips they would send answers back to Mexico City
    27   and that she did not need to wait much longer.
    28         78.    Ms. Phillips informed two of the Mexican agents that she is a human


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     1   rights attorney working with refugees and separated families, and that her
     2   organization, Al Otro Lado, has sued the federal government multiple times. She
     3   also informed the agents that her colleagues had their Global Entry/SENTRI
     4   program benefits revoked without explanation. After learning about the timing of
     5   Al Otro Lado’s lawsuits, the SENTRI revocations, and the alertas, the agents said
     6   something to the effect of, “Oh, that’s why this happened – when did you file your
     7   lawsuit?” and asked whether the suit was brought on her behalf or on behalf of her
     8   organization.
     9          79.    At 1:47 a.m., Mexican officials informed Ms. Phillips that she would
    10   be detained and returned to the United States.
    11          80.    Ms. Phillips asked if her daughter and husband could come into her
    12   room to take her daughter’s belongings, which had been with Ms. Phillips during
    13   her detention.
    14          81.    Her daughter and husband were escorted into the room, at which point
    15   her daughter, who had previously been asking for her mother, began crying and
    16   refused to leave her mother. Ms. Phillips then informed the Mexican agents that
    17   her daughter needed to stay with her.
    18          82.    At this point, Ms. Phillips was very scared, upset, and crying. The
    19   room the officials detained Ms. Phillips in was cold, about six feet by six feet
    20   large, and contained a stained small couch and loveseat, coffee table, and a row of
    21   plastic chairs.
    22          83.    At around 2 a.m., Mexican officials informed Ms. Phillips that they
    23   would place her on a return flight at 6 a.m. on Viva Aerobus. They informed her
    24   that a representative from Viva would arrive to process her boarding passes and
    25   provide her and her daughter food and water.
    26          84.    During this period, Ms. Phillips managed to put her daughter to sleep
    27   using a thin scarf as a blanket, despite her daughter being sick with a cold and
    28   exhausted from the trip and ordeal. When her daughter did wake periodically, she


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     1   was disoriented, confused, and hungry.
     2             85.   Ms. Phillips did not sleep during her detention. The room was too
     3   cold, and she was in too much pain. She attempted to calm herself down, but at
     4   multiple points was hypersalivating, dry-heaving, and near vomiting.
     5             86.   At 5:52 a.m., Mexican officials informed Ms. Phillips that she would
     6   not be on the 6 a.m. flight after all, and instead would be placed on a 10:10 a.m.
     7   flight.
     8             87.   By this point, Ms. Phillips had been in detention for approximately
     9   five hours suffering from a prolonged panic attack, in extreme pain, suppressing
    10   frequent urges to vomit, sweating, dizzy, suffering from constant twitching of her
    11   left eye, interstitial cystitis (urgency to urinate), numbness of several fingers, pain
    12   in her left breast from a circulatory disorder called Reynaud’s Syndrome, and
    13   extreme dizziness due to vascular fragility (a problem associated with sudden
    14   blood pressure drops that occur in stressful conditions when she stands or changes
    15   positions).
    16             88.   She also had not eaten or drunk anything during this period, despite
    17   repeated requests to Mexican officials. She was allowed a bathroom visit twice.
    18             89.   At around 8 a.m., Ms. Phillips begged a female member of the
    19   cleaning staff for a glass of water to take her medication. The staff member replied
    20   that she would ask. About 15 minutes later, Ms. Phillips was brought water
    21   enabling her to take her medications.
    22             90.   At around 8:40 a.m., Ms. Phillips was told that that she would receive
    23   her boarding passes soon. She had still not eaten.
    24             91.   She was eventually provided her boarding pass, escorted to the gate
    25   by two INM officials, and returned to LAX on a flight operated by Volaris that
    26   departed at 10:18 a.m.
    27             92.   Since her traumatic ordeal, Ms. Phillips has feared travel abroad to
    28   Mexico, especially without a Mexican visa. Given the binational nature of her


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     1   work, however, she decided to seek a new Mexican business visa. After applying,
     2   Mexican officials scheduled an interview of her on July 12, 2019 at the Mexican
     3   consulate in Los Angeles.
     4          93.    During the July 12 interview, Mexican consular staff informed her
     5   that Mexico will deny her application for the visa as a result of the alerta, which
     6   they said the American government placed on her passport.
     7          94.    Based on the information provided to her by Mexican officials during
     8   her detention in Guadalajara and when she interviewed for a Mexican visa, and
     9   upon information and belief, Defendants’ investigation, surveillance, and
    10   collection of information about her and Defendants’ placement of an alerta on her
    11   passport frustrated Ms. Phillips’ ability to travel internationally and resulted in her
    12   deportation and inability to secure a Mexican business visa.
    13          95.    Defendants have also caused an indefinite delay in the processing of
    14   Ms. Phillips’ renewal for a SENTRI pass. Ms. Phillips reapplied for a new pass on
    15   June 3, 2019 prior to its October 2019 expiration. While the renewal ordinarily is
    16   approved within a matter of days, Ms. Phillips has to date not received an approval
    17   on her application. Upon information and belief, the approval has been delayed
    18   because of the government’s investigation and surveillance of her owing to her
    19   work in support of migrants.
    20          96.    Ms. Phillips has never been arrested or convicted of any crime, and
    21   previously passed the background check necessary for enrollment in CBP’s Global
    22   Entry/SENTRI program. Various government agencies have also cleared Ms.
    23   Phillips for visiting ICE immigration jails, Bureau of Prisons facilities, California
    24   state prisons, and local jails.
    25          97.    Nor has Ms. Phillips ever encouraged or induced anyone to enter the
    26   United States unlawfully or otherwise violate any immigration law.
    27          98.    Ms. Phillips did not organize or travel with the 2018 caravan. Ms.
    28   Phillips was not present during unrest at the border on November 25, 2018 or on


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     1   December 31, 2018. On November 25, she was assisting clients in family
     2   separation cases in Tijuana approximately ten miles from where the tear gassing
     3   occurred, and on December 31 was in Los Angeles, California.
     4         99.    Nothing in her background, other than Defendants’ surveillance
     5   operation targeting her, explain the delays in her SENTRI approval, the denial of
     6   her Mexican business visa, and her detention and deportation by Mexican officials.
     7         100. Due to Defendants’ secret surveillance of her, Ms. Phillips ceased
     8   traveling to Mexico for months, which inhibited the work she does with Al Otro
     9   Lado and interfered with her personal travel plans. She fears detention, arrest, and
    10   investigation at the hands of both the American and foreign governments were she
    11   to travel extensively internationally.
    12         C.     Erika Pinheiro’s detention and deportation as a result of
    13                Defendants’ unlawful targeting of her.
    14         101. Plaintiff Erika Pinheiro has worked for Al Otro Lado as its Director of
    15   Policy & Litigation since April 2017. In this capacity, her work includes the
    16   provision of wrap-around legal services for deportees, migrants, and refugees in
    17   Tijuana, as well as working with civil society organizations throughout Mexico to
    18   build a network of support for particularly vulnerable migrants, including
    19   adolescent girls and separated refugee families. Given Al Otro Lado’s profile, her
    20   work is widely known and respected among civil society organizations who cater
    21   to these populations in Mexico.
    22         102.    Prior to Defendants’ investigation of her, Ms. Pinheiro worked both
    23   in the United States and in Mexico providing legal services to migrants and
    24   refugees. Upon information and belief, Defendants began investigating and
    25   surveilling Ms. Pinheiro in 2018 due to her work, resulting in her placement on
    26   Defendants’ secret watchlist.
    27         103. On January 29, 2019, Ms. Pinheiro attempted to travel from San
    28   Diego to Tijuana to renew her still-valid Mexican visa, which she needed for travel


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     1   to southern Mexico to meet with her clients. She successfully renewed her
     2   Mexican visa and paid the renewal fee at the San Ysidro East Port of Entry, but
     3   Mexican immigration authorities detained her as she was leaving the port. They
     4   informed Ms. Pinheiro that an alerta had been placed on her passport, but did not
     5   provide any additional information.
     6         104. During her detention, Mexican officers refused to allow Ms. Pinheiro
     7   access to two of her attorneys, other than a brief one-minute discussion with one of
     8   them who had arrived at the port concerned about Ms. Pinheiro’s well-being. They
     9   also compelled Ms. Pinheiro to answer a series of questions concerning her
    10   background, immigration status, work, and the purposes of her travel.
    11         105. At the end of her detention, Mexican officers denied her entry into
    12   Mexico and physically removed her from Mexican territory. She was removed
    13   after informing Mexican officials that her infant child was still in Mexico. Her
    14   entire detention lasted between two to three hours.
    15         106. Between January 29 and February 25, Ms. Pinheiro was unable to
    16   return to Mexico and was separated from her family. She was also unable to return
    17   to her work, most of which was based in Tijuana.
    18         107. Ms. Pinheiro subsequently visited the Mexican consulates in Los
    19   Angeles and San Diego on multiple occasions in order to obtain legal status in
    20   Mexico and to avoid another deportation by Mexican authorities. On February 21,
    21   2019, she submitted her application for Mexican temporary residence status at the
    22   San Diego consulate. When the consular officials attempted to issue her visa, they
    23   informed Ms. Pinheiro that an alerta placed in the system prevented them from
    24   issuing the visa and that they needed approval from their central national office.
    25         108. On February 25, 2019, the Mexican consulate in San Diego contacted
    26   Ms. Pinheiro and informed her that the alerta had been lifted, allowing them to
    27   issue her a temporary residence visa. The visa would allow her to enter Mexico and
    28   adjust her status to temporary resident. The consulate informed Ms. Pinheiro that


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     1   she needed to present herself at the Mexican immigration office at the San Ysidro
     2   Port of Entry to obtain the documentation necessary to continue her temporary
     3   residence application.
     4         109. The same day, Ms. Pinheiro presented herself at the office as
     5   instructed, and filled out the requisite paperwork. The officials asked Ms. Pinheiro
     6   to wait pending approval of the paperwork, during which time she overheard a
     7   supervisor making a call to explain that an applicant had presented with an alert in
     8   the system.
     9         110. Ms. Pinheiro waited for approximately 30 minutes before the same
    10   supervisor brought her into his office. He explained that an alert had been issued
    11   on her passport, and that she needed to answer questions. He presented her with a
    12   written series of questions seeking identical information as that sought by the
    13   Mexican officials who detained her on January 29. Ms. Pinheiro informed the
    14   supervisor that she had previously answered the same questions. He instructed her
    15   to complete the form again, which Ms. Pinheiro did.
    16         111. Ms. Pinheiro then asked the supervisor if he knew where the alerta
    17   had come from. He replied, “This is not from the Mexican government. This is a
    18   matter at the international level and I do not have access to that information. Not
    19   even the consulate has access to that information.”
    20         112. He further explained that alerts of this kind were normally reserved
    21   for individuals with a pending criminal matter in another country, or for people
    22   identified as posing a risk to national security.
    23         113. Thereafter, several other Mexican immigration officials entered the
    24   supervisor’s office and began discussing Ms. Pinheiro’s case. The officials
    25   specifically pressed Ms. Pinheiro as to why a foreign government would place the
    26   alerta. Ms. Pinheiro responded that she is an attorney who files lawsuits against the
    27   United States government, and that she had been removed from Mexico on the
    28   same day that the United States government implemented its Remain-in-Mexico


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     1   program. When Ms. Pinheiro complained about how the alerta had now caused her
     2   multiple detentions, the supervisor explained to her that Mexican officials do not
     3   have the power to remove the alerta given its international nature.
     4         114. Following an approximately one-hour detention, the supervisor
     5   informed Ms. Pinheiro that Mexico’s central national office would allow her to
     6   travel to Mexico notwithstanding the alerta. He asked her to sign a declaration that
     7   stated that she still had the alerta, but that Mexico was allowing her to enter on a
     8   visa. Ms. Pinheiro signed the declaration, but was refused a copy of it for her
     9   records.
    10         115. After being allowed back into Mexico, Ms. Pinheiro subsequently met
    11   with her Mexican lawyer who informed her that the commissioner in charge of the
    12   alert system in Mexico City stated that while Ms. Pinheiro’s alerta migratoria had
    13   been lifted, an alerta informativa remained on Ms. Pinheiro’s passport. The
    14   consequence of the alerta informativa, according to the Mexico City
    15   commissioner, was that Ms. Pinheiro may be detained and questioned each time
    16   she encountered an immigration official in Mexico. Her attorney also advised her
    17   that her travel to other countries could be similarly restricted, but that the alerta
    18   would not be triggered until she attempted to enter another country with her
    19   passport.
    20         116. Based on the statements made by Mexican immigration officials and
    21   based on the information provided by Ms. Pinheiro’s Mexican lawyer, and upon
    22   information and belief, Defendants’ surveillance program resulted in the creation
    23   and retention of records about Ms. Pinheiro’s protected work as a lawyer and her
    24   associations with her clients and other civil society organizations. The program
    25   also led to her detentions in January and February, and the placement of alerts on
    26   her passport which have frustrated her ability to travel internationally.
    27         117. As with Ms. Phillips, Ms. Pinheiro has never been arrested or
    28   convicted of any crime. In fact, she had previously obtained clearance to enter


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     1   American immigration jail facilities and receive confidential information from the
     2   United States government related to her management of Legal Orientation
     3   Programs and regarding children detained in Office of Refugee Resettlement
     4   custody. She had also obtained a “no escort” clearance to perform legal orientation
     5   work in Los Angeles County jails.
     6         118. Ms. Pinheiro has never encouraged or induced anyone to enter the
     7   United States unlawfully or otherwise violate any immigration law.
     8         119. Nor did Ms. Pinheiro organize or travel with the 2018 caravan. She
     9   was not present during unrest at the border on November 25, 2018 or on December
    10   31, 2018. Ms. Pinheiro was in New Jersey on November 25, and was at home on
    11   New Year’s Eve caring for her sick child.
    12         120. Due to Defendants’ secret surveillance of her, Ms. Pinheiro
    13   dramatically cut down her travel to and from Mexico, inhibiting the range of work
    14   she performed with Al Otro Lado. While Ms. Pinheiro has crossed the land border
    15   between San Diego and Tijuana, she fears traveling internationally by air due to
    16   the statements made by Mexican officials concerning the alerta placed on her
    17   passport, and due to the investigations conducted by lawyers and advocates in
    18   Mexico on her behalf. As a result, she has not traveled to visit her family in
    19   Portugal or planned any other air travel out of North America. She fears detention,
    20   arrest, and investigation at the hands of both the American and foreign
    21   governments were she to travel internationally by air.
    22         D.     Nathaniel Dennison’s detention and interrogation by Defendants.
    23         121. Nathaniel Dennison is a filmmaker, photographer, and freelance
    24   journalist. In May 2017, he founded a non-profit, non-partisan organization called
    25   Through My Eyes Foundation. The organization provides young people the tools
    26   and expertise to tell stories about their experiences through the medium of
    27   documentary photography and filmmaking.
    28         122. In October 2018, when news of the migrant caravan began dominating


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     1   American airwaves, Mr. Dennison developed the idea of using Through My Eyes’
     2   resources to travel to Mexico to allow migrant youth to tell their own stories. He
     3   viewed the public conversation around migration as largely omitting narratives
     4   from migrants themselves, precisely the issue that spurred him to create his
     5   foundation.
     6         123. To seed the project, he posted about the idea on Facebook and began
     7   raising funds. As his non-profit was relatively new, he often used his own personal
     8   networks to raise funds for the organization.
     9         124. Through the assistance of friends and associates, Mr. Dennison raised
    10   money to travel to Mexico on December 2, 2018. He eventually arrived in Tijuana,
    11   Mexico on December 3 at El Barratel, a make-shift shelter for migrants who had
    12   traveled on the caravan and arrived at the United States-Mexico border. The
    13   shelter, on the grounds of a shuttered nightclub, opened after a previous shelter at a
    14   sports complex became too unsanitary to house people.27
    15         125. When he arrived, Mr. Dennison met with Mexican government
    16   officials stationed at El Barratel. They provided him with a formal credential that
    17   allowed him entry and exit into the shelter. From December 3 until December 29,
    18   Mr. Dennison lived in the shelter as a credentialed volunteer, helping with all
    19   aspects of the shelter’s operation, interfacing with the Mexican government,
    20   assisting migrants with basic needs, and working on his Through My Eyes
    21   Foundation project. He coordinated and inventoried donations to the shelter,
    22   including water, socks, undergarments, and children’s toys. He also assisted with
    23   food donations, janitorial services, and coordinating volunteers arriving at the
    24   shelter to assist the families staying there.
    25         126. On December 29, the Mexican government officials who had
    26   previously credentialed Mr. Dennison abruptly informed him that they were
    27
               27
                 Antonio Olivo, A Makeshift Shower in a Muddy Courtyard. Donated
    28   Meals too Far Apart., WASH. POST (Dec. 3, 2018), https://wapo.st/2Gq0mfi.

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     1   removing his access privileges, thereby preventing him from living there as he had.
     2   Despite an outcry from migrants at the shelter and other volunteers who had come
     3   to rely upon Mr. Dennison’s support, the officials insisted on the revocation. The
     4   shelter eventually closed.
     5         127. Mr. Dennison subsequently found a home to stay in alongside other
     6   American humanitarian volunteers whom he had befriended. He stayed in the
     7   home until he left Mexico on January 10.
     8         128. On New Year’s Eve, Mr. Dennison and his housemates were alerted
     9   to disturbances at a border wall in Tijuana in which migrants had been injured by
    10   tear gas launched by Border Patrol officers from the United States. Mr. Dennison
    11   and a few of his fellow volunteers, some of whom had training in emergency
    12   medical treatment, immediately traveled to that section of the wall. While others
    13   provided medical aid to those injured by the tear gas, Mr. Dennison brought
    14   camera equipment to document the scene. He played no role in organizing
    15   migrants who had come to the border that evening or in any of the ensuing conflict
    16   that erupted once they arrived at the border fence. He eventually returned to his
    17   temporary residence early morning on January 1.
    18         129. On January 10, 2019, Mr. Dennison attempted to travel back to San
    19   Diego on foot via the San Ysidro Port of Entry. Upon his arrival, Customs and
    20   Border Protection officers pulled Mr. Dennison out of a line and informed him that
    21   he had been selected for “random” questioning. They told him that he needed to
    22   take a seat in another room.
    23         130. Mr. Dennison waited for approximately six hours in a holding area.
    24   The room had benches for detainees facing an area with other CBP officers sitting
    25   in two-way cubicles.
    26         131. CBP officers then escorted Mr. Dennison to another walled-off area
    27   that featured individual desks and chairs. He sat down in one of the chairs and
    28   faced a non-uniformed HSI officer in a blue shirt and khakis. The officer then


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     1   proceeded to interrogate him.
     2         132. During the questioning, which lasted approximately 45 minutes, the
     3   plain-clothed officer asked Mr. Dennison many invasive questions, including what
     4   he was doing in Mexico, what role he played in supporting the migrant caravans,
     5   and whether he organized the caravans themselves. At the time, Mr. Dennison felt
     6   as though he was under arrest, unable to leave the room, and unable to refuse to
     7   answer the questions asked by the officer.
     8         133. After Mr. Dennison informed him of the reasons why he was in
     9   Mexico and at the shelter, the officer began inquiring further. The officer asked
    10   Mr. Dennison to describe his work at the shelter and what he did there. He also
    11   asked Mr. Dennison to describe others with whom Mr. Dennison volunteered at the
    12   shelter, and who else Mr. Dennison was associated with while in Mexico. Only
    13   because he believed he had no choice but to share this information, Mr. Dennison
    14   responded to the officer’s questions.
    15         134. Despite Mr. Dennison’s responses, the officer appeared at numerous
    16   times to forcefully suggest that Mr. Dennison was an organizer of the caravan. Mr.
    17   Dennison denied this allegation throughout the interrogation.
    18         135. The officer also asked Mr. Dennison with whom he was at the New
    19   Year’s Eve border disturbance. Mr. Dennison had not provided the officer any
    20   information about his presence that evening, suggesting that the officer knew in
    21   advance. Mr. Dennison answered the officer’s questions.
    22         136. The officer also asked Mr. Dennison numerous questions soliciting his
    23   political views on the caravan and on migration in general. He asked Mr. Dennison
    24   how he felt about migrants traveling to the United States, what his views on
    25   resolving the migrant crisis were, and other similar questions.
    26         137. At one point in the questioning, the officer switched topics and asked
    27   Mr. Dennison, “So, what did you have to do with Charlottesville?” Mr. Dennison
    28   was shocked and puzzled, and responded, “What do you mean?” The officer asked


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     1   again about Charlottesville, referring to the infamous “Unite the Right” rally in
     2   Charlottesville, Virginia in August 2017. Feeling he had no choice but to respond,
     3   Mr. Dennison reluctantly answered the question.
     4         138. The officer asked Mr. Dennison if he knew people or worked with
     5   people that were present at the protests in Charlottesville. Mr. Dennison responded.
     6         139. The officer also asked Mr. Dennison for his political views on the
     7   events in Charlottesville, which Mr. Dennison again answered only because he
     8   believed he had no other choice.
     9         140. The officer then asked if Mr. Dennison was present at demonstrations
    10   in Standing Rock. Again, Mr. Dennison was incredulous, but felt forced to answer.
    11         141. The interrogation ended with the officer asking Mr. Dennison if he
    12   had anything else to share. Mr. Dennison replied that he did not.
    13         142. Upon conclusion of the interrogation, CBP officers walked Mr.
    14   Dennison to the United States. Shortly thereafter, Mr. Dennison discovered that the
    15   Mexican visa he obtained when he arrived in Mexico City was gone from his
    16   possessions. Mr. Dennison had only planned to leave Mexico for about five hours,
    17   but realized that the confiscation of his visa could present problems for his return
    18   to Mexico.
    19         143. Mr. Dennison turned around and asked a nearby CBP officer about his
    20   confiscated visa. A CBP officer refused to allow him to cross, and told him that he
    21   needed to speak with other CBP officials about the missing visa. After speaking
    22   with multiple officers at the Port, Mr. Dennison was unable to retrieve his missing
    23   visa and did not cross back into Mexico.
    24         144. In total, the officers detained Mr. Dennison for between six and seven
    25   hours. The experience was traumatic, stressful, and resulted in lasting emotional
    26   injury to Mr. Dennison.
    27         145. After Mr. Dennison’s detention, Defendants distributed news of Mr.
    28   Dennison’s seizure and interrogation as part of their joint surveillance operations.


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     1   An email dated three days after Mr. Dennison’s detention written by an official
     2   within a Customs and Border Protection identified Mr. Dennison as a “top target”
     3   for Defendants.28 It stated that he had been interviewed by Defendants, and that the
     4   detention and interrogation was based solely on Mr. Dennison’s status as a
     5   surveillance target, not because of any need to identify contraband or secure the
     6   border.
     7         146. Following that incident, Mr. Dennison did not return to Mexico
     8   because he feared maltreatment and detention at the hands of Defendants. He was
     9   unable to retrieve his equipment and belongings which he left in Mexico.
    10         147. When news reports of the Defendants’ watchlist became public, the
    11   reporters who broke the story contacted Mr. Dennison and informed him that his
    12   name appeared on the list as a “Suspected Antifa/Organizer.” Because of the
    13   intrusive seizure conducted by Defendants on January 10, and because his name
    14   appears on a secret government watchlist, Mr. Dennison fears traveling extensively
    15   internationally and subjecting himself again to detention and interrogation. He also
    16   fears the government’s designation of him as “Antifa/Organizer” would interfere
    17   with the work of his foundation, given that he has no affiliation with any anti-
    18   fascist organization.
    19         148. Mr. Dennison subsequently placed his work with migrants on hold,
    20   and has been unable to raise significant additional funds for his Foundation. The
    21   fact that his name appears on the government’s watchlist has dissuaded supporters
    22   of Through My Eyes Foundation from funding the organization’s work for fear of
    23   associating with an entity targeted by the government. Mr. Dennison continues to
    24   attempt to raise money for his foundation, and has taken to working various retail
    25   jobs to support himself in the meantime.
    26
    27
    28         28
                    Jones, supra note 9.

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     1                                         CLAIMS
     2                                        First Claim
     3                           Violation of the First Amendment
     4                         (All Plaintiffs Against All Defendants)
     5         149. Plaintiffs incorporate the preceding paragraphs as if fully set forth
     6   herein.
     7         150. Defendants’ dragnet surveillance and intrusive seizure operation
     8   resulted in the investigation of and collection of information about Plaintiffs based
     9   on their First Amendment-protected activity, a violation of the First Amendment to
    10   the United States Constitution. This activity includes documenting the plight of,
    11   associating with, providing legal counsel to, or otherwise charitably supporting
    12   migrants traveling through Mexico to seek asylum in the United States, all of
    13   which are exercises of Plaintiffs’ right to freedom of speech and to freedom of
    14   association.
    15         151. Defendants also collected and maintain records describing Plaintiffs’
    16   First Amendment-protected activity in violation of the First Amendment to the
    17   United States Constitution.
    18         152. As a direct and proximate cause of Defendants’ actions, Plaintiffs
    19   have been chilled or otherwise prevented from exercising their rights to free speech
    20   and free association. Defendants’ maintenance of a secret watchlist with Plaintiffs’
    21   private and protected information prevents Plaintiffs from continuing their work on
    22   behalf of and in support of migrants, including, among other harms, providing
    23   legal assistance to individuals seeking asylum (Ms. Pinheiro and Ms. Phillips) and
    24   raising funds to support young migrants’ documentary filmmaking (Mr. Dennison).
    25   It also resulted in detentions, deportation, and interrogation, as well as revocations
    26   of visas and withholding of SENTRI travel privileges.
    27         153. Plaintiffs are entitled to the expungement of all records unlawfully
    28   created and maintained pursuant to Defendants’ scheme described above, as well


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     1   as an order enjoining Defendants from continuing its surveillance and detention
     2   operations at the border based on Plaintiffs’ First Amendment-protected activity.
     3                                       Second Claim
     4                          Violation of the Fourth Amendment
     5                (Plaintiff Nathaniel Dennison Against All Defendants)
     6         154. Plaintiffs incorporate the preceding paragraphs as if fully set forth
     7   herein.
     8         155. Defendants unlawfully and without legal justification intrusively
     9   seized Plaintiff Nathaniel Dennison while he attempted to cross into the United
    10   States on January 10, 2019, in violation of the Fourth Amendment of the United
    11   States Constitution.
    12         156. Defendants’ actions were motivated by, at best, an interest in ordinary
    13   criminal investigations, rather than the specific permissible purposes which justify
    14   suspicionless stops at the border. As a result, Mr. Dennison’s intrusive seizure
    15   constituted an end-run around the Fourth Amendment’s limitations on ordinary
    16   criminal investigations.
    17         157. The intrusive seizure was unsupported by any suspicion of criminal
    18   wrongdoing, and exceeded the scope of Defendants’ authority to detain, search,
    19   and question Mr. Dennison at the border.
    20         158. Mr. Dennison is entitled to an order declaring Defendants’ conduct
    21   unconstitutional under the Fourth Amendment, and to an order enjoining any such
    22   future intrusive seizures when unsupported by reasonable, articulable suspicion of
    23   border-related criminal activity.
    24         159. He is also entitled to expungement and destruction of all records
    25   which contain information gathered about him as a result of Defendants’ unlawful
    26   seizure and interrogation on January 10.
    27                                       Third Claim
    28                 Violation of the Privacy Act, 5 U.S.C. § 552a(g)(1)(D)


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     1        (All Plaintiffs Against Defendants United States Customs and Border
     2      Protection, United States Immigrations and Customs Enforcement, and
     3                            Federal Bureau of Investigation)
     4         160. Plaintiffs incorporate the preceding paragraphs as if fully set forth
     5   herein.
     6         161. Defendants collected and maintained records describing private and
     7   protected information about Plaintiffs, including how Plaintiffs exercised their
     8   First Amendment rights, in violation of the Privacy Act. Collection and
     9   maintenance of these records is not expressly authorized by statute, not authorized
    10   by Plaintiffs, and is neither pertinent to nor within the scope of an authorized law
    11   enforcement activity.
    12         162. On April 3, 2019, Plaintiff Nathaniel Dennison submitted letters to the
    13   FBI, CBP, and ICE requesting that the agencies disclose all records they
    14   maintained about him in relation to Defendants’ surveillance scheme described
    15   above. The letter also requests “that all such records be immediately expunged or
    16   amended by April 26, 2019 to omit all references to him, identifying
    17   characteristics, and/or his First Amendment-protected activities, pursuant to 5
    18   U.S.C. §§ 552a(e)(1), (e)(5), (e)(7), and (d)(2).”
    19         163. To date, and following appeals and correspondences, the agencies
    20   have failed to provide Mr. Dennison with all these records, amend the records, or
    21   expunge them.
    22         164. As a result of the Agency Defendants’ failure to respond to his
    23   requests for expungement and amendment of their records, and their maintenance
    24   of records in violation of the Privacy Act, Mr. Dennison suffered actual damages.
    25   Due to the records illegally maintained by Defendants about him, Mr. Dennison
    26   was unable to return to the United States for a significant period of time without
    27   fear of detention, interrogation, and referral to secondary inspection. The existence
    28   of these records resulted in alerts placed on Mr. Dennison that caused Defendants


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     1   to refer him to secondary inspection, arrest, and removal of his Mexican visa. The
     2   fear of further delay and intrusive seizure at the border searches prevented him
     3   from traveling internationally, as required by his position with Through My Eyes
     4   Foundation. As a result, he was unable to collect expensive camera equipment left
     5   behind in Mexico, as well as the documentary footage contained therein necessary
     6   to continue and complete his project with migrants that he had been working on for
     7   months. His inability to travel internationally without fear of reprisal from
     8   Defendants also prevented him from traveling abroad on multiple additional
     9   Through My Eyes projects scheduled for 2019 and 2020, including in Nepal, India,
    10   and South Africa. He expects that the failure to complete these projects resulted in
    11   a personal salary loss from the Foundation of over $50,000, and a loss of
    12   equipment of approximately $2,000. These losses are directly attributable to
    13   Defendants’ violations of the Privacy Act.
    14         165. On June 21, 2019, Plaintiffs Erika Pinheiro and Nora Phillips
    15   submitted letters to the FBI, CBP, and ICE requesting all records collected and
    16   maintained by the agencies as a part of their border surveillance scheme “be
    17   immediately expunged or amended by July 8, 2019 to omit all references to her,
    18   identifying characteristics, and/or her First Amendment-protected activities,
    19   pursuant to 5 U.S.C. §§ 552a(e)(1), (e)(5), (e)(7), and (d)(2).”
    20         166. On July 22, 2019, Ms. Pinheiro also submitted a grievance to DHS via
    21   its Traveler Redress Inquiry Program seeking the expungement of all records
    22   related to her First Amendment-protected speech and activities. On July 15, 2019,
    23   Plaintiff Nora Phillips submitted her grievance to DHS via its Traveler Redress
    24   Inquiry Program seeking the expungement of all records related to her First
    25   Amendment-protected speech and activities.
    26         167. To date, and following appeals and correspondences, the agencies
    27   have failed to provide Ms. Pinheiro and Ms. Phillips with all these records, amend
    28   the records, or expunge them.


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     1         168. Defendants’ failure to expunge or amend the records as required by
     2   Sections 552a(d)(2), (e)(1), (e)(5), or (e)(7) in response to Plaintiffs’ timely
     3   requests violates the Privacy Act, and states a claim under 5 U.S.C.
     4   § 552a(g)(1)(D). These records are not exempt from disclosure, amendment, or
     5   expungement pursuant to Sections 552a(j)-(k) or any other applicable law.
     6                                 PRAYER FOR RELIEF
     7         169. Plaintiffs respectfully request that the Court grant the following relief:
     8                a.      Issue an injunction ordering Defendants, their subordinates,
     9                        agents, employees, and all others acting in concert with them to
    10                        expunge all records unlawfully collected and maintained about
    11                        Plaintiffs, and any information derived from that unlawfully
    12                        obtained information.
    13                b.      Issue an injunction ordering Defendants, their subordinates,
    14                        agents, employees, and all others acting in concert with them to
    15                        cease investigations into and surveillance of Plaintiffs based on
    16                        First Amendment-protected activity without any reasonable
    17                        suspicion of criminal activity
    18                c.      Issue an injunction ordering Defendants, their subordinates,
    19                        agents, employees, and all others acting in concert with them to
    20                        cease their suspicionless detentions, arrests, interrogations, and
    21                        physical restraints of Plaintiff Nathaniel Dennison at the border
    22                        for purposes unrelated to the border search exception to the
    23                        Fourth Amendment, including in circumstances where
    24                        Defendants lack any reasonable, articulable suspicion of border-
    25                        related wrongdoing (i.e. customs violations, human trafficking,
    26                        or contraband smuggling).
    27                d.      Issue an injunction ordering that all records collected and
    28                        maintained about Plaintiffs in violation of the Privacy Act, 5


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     1                      U.S.C. § 552a, and any information derived from that
     2                      unlawfully obtained or maintained information, that is
     3                      maintained or possessed by Defendants, their subordinates,
     4                      agents, employees, and all others acting in concert with them,
     5                      be amended and/or expunged.
     6              e.      Enter a judgment declaring unlawful under the First
     7                      Amendment to the United States Constitution and the Privacy
     8                      Act Defendants’ collection and maintenance of records
     9                      concerning Plaintiffs’ private and First Amendment-protected
    10                      activities, Defendants’ ongoing investigation and surveillance
    11                      of Plaintiffs based on First Amendment-protected activity, and
    12                      Defendants’ search and seizure of Plaintiff Nathaniel Dennison
    13                      at the border.
    14              f.      Award Plaintiff Nathaniel Dennison compensatory damages
    15                      pursuant to the Privacy Act in an amount to be proven at trial.
    16              g.      Award Plaintiffs reasonable attorneys’ fees and costs; and
    17              h.      Grant any other relief that this Court may deem proper and just.
    18
    19   Dated: January 12, 2021         Respectfully Submitted,
                                         ACLU FOUNDATION OF SOUTHERN
    20
                                           CALIFORNIA
    21                                   KIRKLAND & ELLIS LLP
    22
    23                                   By:   /s/ Mohammad Tajsar
                                               Mohammad Tajsar
    24
                                               Attorneys for Plaintiffs
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